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                           UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT O F FLORIDA

                          CASE NO . 18-60337-CR-M ARTINEZ

  UNITED STATES O F AM ERICA ,

  VS.

  A LVARO VALDEZ,

                      Defendant.
                                          /


                                   DETENTIO N ORDER

        THIS MATTER cam e before the Courtupon the Governm ent's m otionto detainthe

  defendant,Alvaro Valdez,priorto trialand untilthe conclusion thereof. Having received

  evidence and heard argum entofcounsel,the Coud hereby G RANTS the motion and

  enters its written findings offactand statem entofreasons forthe detention in accordance

  withthe provisionsof18 U.S.C.â 3142(i).
  A.    INTRO DUCTIO N

        O n Decem ber 17, 2018, the Coud held a hearing to determ ine w hether any

  condi
      tion orcom bination ofconditions ofrelease willreasonably assure the appearance

  ofthe defendantas required and the safety ofany person and the com m unity, 18 U.S.C.

  j3142(f).Based uponthe Indictmentofthe GrandJury,see United Statesv.Hudado,779
  F.2d 1467,1479 (11th Cir.1985),the Coud finds probable cause thatthe defendant,
  Alvaro Valdez,comm itted offenses underchapter77 (ofTitle 18)forwhich a maximum
  term ofim prisonm entof20 years ormore is prescribed and offenses involving a m inor

  victim under18 U.S.C,jj 2251. 18 U.S.C.j 3142(e)(3)(E),This finding givesrise to a
  rebuttable presum ption that no condition or com bination of conditions of release will
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  reasonably assure the appearance ofthe defendant as required and the safety ofthe

  community.IJ=.Assuming,arguendo,thatthe defendanthascome forwardwithsufficient
  evidence to rebutthe statutory presum ption,the presum ption ''rem ains in the case as an

  evidentiaryfinding mili
                        tating againstrelease,to be weighled)along with otherevidence.'
  United Statesv.Quartermaine,913 F.2d 910,916 (11thCir.1990).
                                                             ,United Statesv.Kinq,
  849 F.2d485,488(11thCir.1988).Throughoutthisproceeding,the burdenofpersuasion
  is upon the Governm ent to establish by a preponderance of the evidence that the

  defendantposes a risk offlightand/orby clearand convincing evidence thathe poses a

  dangerto the communi
                     ty. Id.at489.
                                 ,18 U.S.C.j 3142(9. In determining whetherthe
  Governm enthas metitsburden bythe requisite standard ofproof,thisCoud m usttake into

  accountthe factorsenumerated in 18 U.S.C.j 3142(g).
  B.    FINDING S OF FACT
        1.     The defendantis charged with the follow ing offenses:conspiracy to com m it

  sextrafficking ofchildren,inviolationof18 U.S.C.j 1594(c)'
                                                           ,sextrafficking ofchildren,in
  violation of18 U.S.C.j 1591(a)(1),(b)(2),and (c),and (2 counts o9 production ofchild
  pornography,in violation of18 U.S.C.j 2251(a)and (e). Therefore,the defendantis
  charged with offenses that involve a m inorvictim and thatare,by statutory definition,

  ''crimels)ofviolence.'l 18 U.S.C.j 3142(g)(1).
               The Coud received credible evidence that the defendant com m itted the

  offenses with which he has been charged. More specifically,the case agentadopted the


          Asfelonyoffensesthathave been codified within chapters 77 and 110 (ofTitle
  18),sections 1591,1594 and 2251 are defined by statute as ''crimels)ofviolence.'' 18
  U.S.C.j 3156(a)(4)(C).
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  FactualProffer(DE 13)filed bythe Governmentashisdirectexam inationtestimony.The
  contentof that FactualProffer was not im peached,contradicted,or rebutted, and the

  undersigned accepts the facts setfodh in thatProfferas true forpurposes ofthis bond

  determ ination. According to the Proffer:

        1.     On February 10,2018,BSO deputiesrespondedto a callatBudgetel
        Inn Iocated in Pom pano Beach,Florida.Atthe room the officers metM inor
        A,a 15yearoldjuvenilewhoadvisedthatshe had beenstaying inthe room
        (with)(MARIA)GONZALEZ,foroneweek.MinorA statedthatGONZALEZ,
        who has know n M inorA since M inorA was a baby,had introduced herto
        prosti
             tution'
                   !specifically,the previous nightG ONZALEZ had supplied M inor
        A with marljuana and had compelled herto have sexualintercourse with
        three differentmales in exchange formoney.

        2.    Officers observed that the hotel room was ridden with used
        contraceptives and contraceptive wrappers. GO NZALEZ adm itted thatshe
        had sexualintercourse in exchange form oney. Surveillance ofthe exterior
        ofthe hotelroom revealed thatten ormore males visited the room in (a)
        shod period of tim e. Fudherm ore, GO NZALEZ was observed, in the
        surveillance cam eras,engaging in sexualactivity with m ultiple m ales in the
        presence ofM inorA.

        3.     Atthattim e,G ONZALEZ was taken into custody on state charges.
        G ONZALEZ'S iphone was observed to have m ultiple textm essages from
        differentnum bers inquiring whetherGO NZALEZ was available. The nature
        ofthe messages ishighly indicative thatthey were from m ales attem pting to
        arrange a tim e to engage in sexualintercourse in exchange for money.
        Additionally,G ONZALEZ had severalm issed calls and textm essages from
        a person named 'KIKI,'who was Iateridentified as (JOAQUINJZAPATA.
        ZAPATA w ho wasGO NZALEZ'S stepbrother,wasasking via the m essages
        whether(;she wasdone,,and whethershe wentto AM SCO y which is a store
                                                                ,
        thatprovides financialservices such as check cashing and cash advances.

        4.      Records held by BudgetelInn revealthatZAPATA had rented room
        121 from February 3,2018 through February 8,2018 and room 111 from
        February 9,2018 through February 10,2018,providing his Florida driver's
        Iicense as proofofidentification. During hertim e atthe Budgetel,M inorA
        saw ZAPATA atIeastonce a day. Officers IaterIearned thatZAPATA was
        also responsible for obtaining the crypto currency to pay for the
        Backpage.com advedisem ents.Post-M iranda,ZAPATA advisedthathe had
        known Go NzAt-Ezforten years,and thatshe had ''directm essaged''him via
        his Instagram in January 2018 seeking help with the operation.

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        5.    O n February 28,2018,M inorA's m otheradvised Iaw enforcem ent
        thatshe had viewed a video ofM inorA perform ing oralsex on a black m ale
        (Iateridentifiedas(ALVARO)VALDEZ)whileGONZALEZwaSdancinginthe
        background. VALDEZ posted the video on Instagram .

        6.    O n April26,2018,Iaw enforcementexecuted a state arrestwarrant
        for VALDEZ, w ho was found to be in possession of an iphone.
        Post-M iranda:VALDEZ advised thathis iphone was used to take the video
        of him receivlng oralsex from M inorA. VALDEZ stated that the video
        rem ained on his phone. He stated that he believed G ONZALEZ had
        'ddirect-messaged''him via lnstagram to arrange the encounterwith M INO R
        A.

        7.     O nApril27,Iaw enforcementobtained asearchwarrantforvALDEz's
        iphone. Upon reviewing the digitalcontents ofVALDEZ'S iphone,officers
        observed videos depicting M inor A perform ing oral sex on VALDEZ.
        Additionally,Iaw enforcem entalso recovered videos ofM inorB2perform ing
        oralsex on VALDEZ. Fudherm ore,Iaw enforcem entretrieved m essages
        VALDEZsenlt)MinorBwhereinhethreatenedtoexposeherand release her
        pornographic videos ifshe didn'tmeetw ith him again.VA LDEZ did indeed
        posta video of M INO R B perform ing oralsex on him aftershe refused to
        m eetwith him .

  FactualProffer!1!11-7 (DE 13).
        The Governm ent proffered that ifthe defendantwere convicted ofthe charged

  offenses,he would face a mandatorym inim um sentence of10 years'im prisonm entas to
  Count1and asto Count2,and hewould face a m andatorym inim um sentence oflsyears'

  im prisonm entasto Count3and asto Count4.The defendant'sadvisory Guidelineswould

  be 151to 188m onths'imprisonment. 18 U.S.C.j 3142(g)(2).
        3.    The pedinenthistory and characteristics ofthe defendantare significantto
  this Coud's assessm entof his candidacy forbond. The defendantwas born in Fort

  Lauderdale(Florida)22yearsagoandisali
                                      felong residentofthecom munity.Since2017,

            M inor B is a l7-year old fem ale who at one tim e had a consensualsexual
  relationship with Valdez butwas notaware he videotaped theirencounters. She Iater
  m ade clearto Valdezthatshe no Iongerwished to be involved with him .
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  he has been residing ata rented condom inium in Plantation with his girlfriend and their

  m inorchild. He has anotherchild from a priorrelationship w ho resides in CoralSprings.

  The defendantadvised thathism other,hisstep-father,and som e ofhis siblingsalso reside

  in the com m unity.

        The defendanttold PretrialServices thathe has been em ployed in a Iandscaping

  business,earning approximately $400permonth.Hefudheradvised thathe workspad-
  tim e as a nightclub prom oterand as a professionalpokerplayer. However,he denied

  ow nership ofany assets.

        The PretrialServices Repod shows thatthe defendanthas been convicted ofpetit

  theft/battery(2015)andhadadjudicationwithheldfortrespassingaconveyance(2018)and
  driving while Iicense suspended (2018). In addition,in April2018,the defendantwas
  charged in a com panion state case and released on pretrialsupervision, 18 U.S.C.

  5 3142(g)(3)(A)and (B).
        4.     The Coud received evidence concerning the nature and seriousness ofthe

  dangerto the com m unity thatwould be posed by the release ofthis defendant. The

  defendantnotonly paid m oney to engage in sexualactivity with a ls-yearoId girl,buthe

  also recorded thatactivityand exposed i
                                        tto aIIofhis socialmediafollowers. Fudherm ore,

  he victim ized anotherm inor,a l7-yearoId girl,by posting videos ofherperform ing oralsex

  on him heraftershe refused to meetwi
                                     th him again. 18 U.S.C.j 3142(g)(4).
        5.     The Coud declines to find thatno condition orcom bination ofconditions of

  release willreasonably assure the defendant's appearance attrial. 18 U.S.C.j 3142(e).

        6.     The Coud specifically finds by clear and convincing evidence that no

  condi
      tion orcom bination ofconditions ofrelease w illreasonably assure the safety ofany

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  otherperson and the comm unity. 18 U.S.C.j 3142(e).
  C.    STATEM ENT O F REASO NS FOR DETENTIO N

        1.     Based upon the above findings offact,this Coud cannotconclude thatthe

  release ofthisdefendanton bond priortotrialwould presentan unreasonable riskofflight.

  Al
   though the defendantdoesface a Iengthy prospective sentence,he is a lifelong resident

  ofthe com m unity with extensive fam ilialand em otionalties. Fudherm ore,he has never

  failed to appearin courtas directed.

               Based upon the above findings offact,this Coud concludes thatthe release

  ofthis defendanton bond priorto trialwould presentan unreasonable dangerto persons

  and to the com m uni
                     ty. The defendantnotonl
                                           y paid m oney to engage in sexuafactivity

  with a ls-yearoId girl,buthe also recorded thatacti
                                                    vity and exposed itto aIIofhis social

  media followers. Fudherm ore,he victim ized anotherm inor,a l7-yearoId girl,by posting
  videosofherperform ing oralsexon him heraftershe refused to m eetwith him again.The

  defendant'schoice ofm inorfem ales and his preference forposting his sexualactivity with

  them online,therefore,is notan isolated instance ofmisjudgment.Fudhermore,he has
  dem onstrated a willingness to postsuch videos as a m eans to coerce sexualactivity -

  including sexualactivity with a m inor.Accordingly,this defendantconstitutes a dangerto

  the com m unity.

  D.    DISPO SITIO N
        Being fully advised,the coud hereby O RDERS thatthe defendant,Alvaro Valdez,

  be detained priorto trialand untilthe conclusion thereof.

        The Coud fudherORDERS:

        1.     Thatthe defendantbe com m itted to the custody ofthe Attorney Generalfor

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  confinem ent in a corrections facility separate,to the extentpracticable,from persons

  awaiting orserving sentences orbeing held in custody pending appeal'
                                                                     ,

          2.   That the defendant be afforded reasonable oppodunity for private

  consultation with counsel'
                           ,and

          3.   That,on orderofa coud ofthe United States oron requestofan attorneyfor

  the Governm ent,the person in charge ofthe correctionsfacility in w hich the defendantis
  confined deli
              ver the defendant to a United States m arshal for the purpose of an

  appearance in connection with a coud proceeding.
          DONEANDORDEREDatFortLauderdal
                                      eFlorida this b,
                                                   ,
                                                     -!*hdayofDecember
  2018.




                                          BA RRY S.       ZER
                                          UNITED STA      S MAG IS RATE JUDGE




  Copies to:

  Hon.Jose E.M adinez
  United States DistrictJudge

  AIlcounselofrecord

  United States Marshal

  United States PretrialServices
